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                             UN ITED STA TES DISTRICT CO IJR T
                             SOUTHERN DISTRICT OF R ORIDA
                     CA SE NO .19-20209-C R-W ILLG M S/OTAD -M W S

   UM TED STATES OF AM ERICA

   VS.

   W ILLIAM W ALTER C H ANEY,
             Defendant.
                                              /

                                      FA CTU AL PRO FFER

          DefendantW illiam W alter Chaney (hereinaher referred to as ttthe Defendant'') his
   collnqelmand theUnited Statesagreethat,hadthk caseproceededtotrial,theUnited Stateswould

   haveproventhefollowing factsbeyond areasonabledoubt:
          On Tuesday,M arch 13, 2018,om cers âom the M iam iD ade Police Departm ent were

   dispatchedto 21935SW 2071Avenue, inM iami,Florida,inreferenceto annrmedrobbely Upon

   arrival,contactw asm ade w ith tW .M .''who advised he isem ployed atRancho Verde Ntlrsery as

   a groundskeeper.The Rancho V erde N ttrsery deals in the buying and selling ofplants, soil,

   fertilizers,pots,and other itenls thattravelin interstate comm erce. A.M .stated thathe saw the

   Defendant'svehicledriveinto the business,and theD efendantattempted to engage in conversation

   w ith A .M .Because A.M .did notspeak English w ell,A.M .directed the D efendantto the area of

   thenlzrserywheretheplantswere forsale.W hen A.M .turned toward the dèectionsoftheplants

   and then back to face the Defendant,the Defendant pointed a black handgtm at A.M .The

   D efendantthen dem nnded A.M .'Sm oney and cellphone.A flerA .M .provided his money and cell

   phone,the Defendant demanded A.M .'S identifcation.A.M .refused.In response to A.M .'S

   refusal, the Defendant discharged a round of am m unition tow ards A.M .'S feet.A .M .w as not

   injured.A.M .thencompliedwiththeDefendant'spriorrequestandprovidedtheDefendantwith
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    A.M .'Sproperty.TheDefendantthen fledtheRanchoVerdeNtlrsery.

           The ownerofthe ntlrsery called 91landprovided a description oftheDefendantandthe

    vehicle the Defendant was driving. laaw enforcem ent located the D efendant shortly aher the

    robbery.W hile law enforcem ent attem pted to take the D efendant into custody,a police om cer

   w ith theM iam iD ade Police D epartm ent,observed the Defendantthrow ablack flrenrm outofhis

   car w indow .The flrearm thatthe Defendantw as recovered and im pounded.The Defendant was

   taken into custody. The firearm w as a loaded 9 m m G lock pistoly m odel 17, serial number

   G9799175,withone(l)mlgazineandthkteen(13)liverotmds.
          A.M .was taken to the scene where the Defendantwas detained to conducta show-up.

   A.M .positively identifiedtheDefendantasbeingtheindividualwhorobbedhim thatmorningand

   discharged a flrenrm during the robbery.Post-M kanda,the Defendantgave written consentto

   search his vehicle. A search of the vehicle revealed a G lock 27 magazine w ith rounds of

   am munition.The Defendant w as taken to M iam i Dade Police Departm ent H eadquarters for

   questioning. The Defendant waived his M kanda rights per form The D efendant adm itted to

   possessing the flrealm m agazine,and am munition thatw ere recovered.The D efendantadmitted

   thathewasattheRanchoVerdenurserythatmorning,butstatedhewasonly looking forplantsto

   purchase.

          AâertheDefendantrobbedtheRanchoVerdenttrsely thebusinesswasclosed foraperiod

   ofthreehoursresulting in a lossofprofks.TheD efendantagreesthatRancho VerdeN ttrsery deals
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    Com m erce.




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                                       CHRIST          E        AN DEZ
                                       ASSIST                  ITED STATES ATTORNEY

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                                       J I.m               E
                                         T     RNEY F0R DEFENDANT

   Ilate: j.$ z (q              By:
                                       MqLLIAM W ALTER CH                Y        Z
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                                       DEFEN DAN T                           -
